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14
                                 UNITED STATES DISTRICT COURT
15
                         FOR THE NORTHERN DISTRICT OF CALIFORNIA
16
                                        OAKLAND DIVISION
17
      WHATSAPP LLC
18    and META PLATFORMS, INC.,         )             Case No. 4:19-cv-07123-PJH
                                        )
19                    Plaintiffs,       )             PLAINTIFFS’ OPPOSITION TO
                                        )             DEFENDANTS’ ADMINISTRATIVE
20           v.                         )             MOTION TO CONTINUE BRIEFING
                                        )             DEADLINES AND HEARING DATE ON
21    NSO GROUP TECHNOLOGIES LIMITED )                PLAINTIFFS’ MOTION FOR
      and Q CYBER TECHNOLOGIES LIMITED, )             PERMANENT INJUNCTION
22                                      )
                      Defendants.       )             Ctrm: 3
23                                      )             Before the Honorable Phyllis J. Hamilton
                                        )
24                                      )             Action Filed: Oct. 29, 2019
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                                   [PUBLIC REDACTED VERSION]
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 1            In response to Plaintiffs WhatsApp LLC and Meta Platforms, Inc.’s (“Plaintiffs”) motion for

 2   a permanent injunction, Defendants NSO Group Technologies Ltd. and Q Cyber Technologies Ltd.

 3   (“NSO”) ask the Court to schedule an evidentiary hearing and delay briefing until after that hearing.

 4   See Dkt. No. 560. NSO’s request should be rejected. Plaintiffs are entitled to a permanent injunction

 5   based on the undisputed facts. Under these circumstances, Ninth Circuit authority permits the Court

 6   to issue a permanent injunction now without the need for any evidentiary hearing.

 7                                                ARGUMENT

 8       I.   The Court Can Issue a Permanent Injunction Without An Evidentiary Hearing

 9            A federal district court can issue a permanent injunction without an evidentiary hearing “when

10   the facts are not in dispute.” Charlton v. Est. of Charlton, 841 F.2d 988, 989 (9th Cir. 1988) (quoting

11   Pro. Plan Exam’r of N.J., Inc. v. Lefante, 750 F.2d 282, 288 (3d Cir. 1984)); see also Geertson Seed

12   Farms v. Johanns, 570 F.3d 1130, 1139 (9th Cir. 2009) (“[A] district court must hold an evidentiary

13   hearing before issuing a permanent injunction unless the adverse party has waived its right to a hear-

14   ing or the facts are undisputed.”); Deja Vu of Nashville, Inc. v. Metro. Gov’t of Nashville & Davidson

15   Cnty., 466 F.3d 391, 398 (6th Cir. 2006) (“Unless disputed questions of material fact exist, no trial

16   or evidentiary hearing is necessary for the district court to enter a permanent injunction.”). 1

17            Consistent with this rule, “permanent injunctions may be granted on summary judgment,

18   given the proper record.” SEC v. Murphy, 626 F.2d 633, 655 (9th Cir. 1980). Indeed, district courts

19   have frequently issued permanent injunctions after finding a party liable on summary judgment, with-

20   out holding evidentiary hearings. See, e.g., Aubin v. Bonta, 665 F. Supp. 3d 1097, 1106 (N.D. Cal.

21   2023); Allen v. Campbell, 2022 WL 3446086, at *2 (D. Idaho Aug. 16, 2022); Marriott v. Cnty. of

22   Montgomery, 426 F. Supp. 2d 1, 11 (N.D.N.Y. 2006); Flow Control Indus. Inc. v. AMHI Inc., 278 F.

23   Supp. 2d 1193, 1202 (W.D. Wash. 2003). In cases like this, the “critical question, however, is not

24   whether a court may issue a permanent injunction on summary judgment without hearing testimonial

25   1
          The cases cited by NSO, see Dkt. No. 560 at 1, confirm that an evidentiary hearing is unnecessary
26        when the material facts are not in dispute. See Charlton, 841 F.2d at 989; United States v. Mi-
          crosoft Corp., 253 F.3d 34, 101 (D.C. Cir. 2001) (requiring hearing “unless there are no disputed
27        factual issues regarding the matter of relief”); Moltan Co. v. Eagle-Picher Indus., Inc., 55 F.3d
          1171, 1174 (6th Cir. 1995) (“[N]o such hearing is required if no factual issues remain for trial.”).
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 1   evidence, but whether . . . the moving party here, clearly established the absence of any genuine issue

 2   of fact material to the granting of the injunction.” Murphy, 626 F.2d at 655. Plaintiffs have met this

 3   burden. The undisputed facts—many of them relied on by the Court in its summary judgment rul-

 4   ing—establish that Plaintiffs are entitled to a permanent injunction.

 5       II.        There Are No Disputed Issues of Fact Relevant to a Permanent Injunction

 6                  Plaintiffs’ motion for a permanent injunction established the absence of any genuine issues

 7   of material fact. See Dkt. No. 557-3 at 7–17. Indeed, Plaintiffs relied almost exclusively on docu-

 8   ments and deposition testimony submitted in connection with the parties’ motions for summary judg-

 9   ment and the Court’s findings in its summary judgment ruling. 2 As Plaintiffs noted in their motion

10   for summary judgment, NSO admits that it developed and sold Pegasus, and that Pegasus was re-

11   sponsible for the attacks described in the complaint. See Dkt. No. 399-2 at 1. To the extent NSO

12   believes disputed issues of fact preclude the issuance of a permanent injunction, it can oppose Plain-

13   tiffs’ motion with reference to the existing discovery record. There is no reason to delay briefing and

14   schedule an evidentiary hearing so that NSO can attempt to relitigate the Court’s factual findings.

15                  In its decision granting Plaintiffs’ motion for partial summary judgment, the Court found that

16   there was no dispute as to the central aspects of NSO’s past violations of the Computer Fraud and

17   Abuse Act (“CFAA”), California Comprehensive Data Access and Fraud Act (“CDAFA”), and the

18   WhatsApp Terms of Service.

19                 NSO’s Pegasus “allow[s] [NSO’s] clients to use a modified version of the Whatsapp applica-

20                  tion – referred to as the ‘Whatsapp Installation Server,’ or ‘WIS.’” Dkt. No. 494 at 2.

21                 NSO “reverse-engineered and/or decompiled the Whatsapp software in order to develop the

22                  WIS.” Id. at 14.

23                 “The WIS . . . allows defendants’ clients to send ‘cipher’ files with ‘installation vectors’ that

24                  ultimately allow the clients to surveil target users.” Id. at 2.

25   2
                   The only fact that was not submitted at the summary judgment stage was the recent statement
26                 from NSO’s founder and current owner Omri Lavie denouncing the Court’s ruling. See Dkt.
                   No. 557-3 at 6. Though NSO now claims that this may not “represent [NSO’s] views,” it does
27                 not dispute that Mr. Lavie—
                                   —owns 100% of NSO, and NSO’s CEO reports to Mr. Lavie.
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 1         “[T]he WIS sent messages through Whatsapp servers that caused Pegasus to be installed on

 2          target users’ devices.” Id. at 12.

 3         “[D]efendants’ Pegasus code was sent through plaintiffs’ California-based servers 43 times

 4          during the relevant time period in May 2019.” Id. at 6.

 5         The WIS “obtain[s] information directly from the target users’ devices, and “also obtains

 6          information about the target users’ device via the Whatsapp servers.” Id. at 12.

 7         NSO “redesigned Pegasus to evade detection after plaintiffs first fixed the security breach.”

 8          Id.

 9          The Court should grant Plaintiffs’ motion based on these undisputed facts alone. Courts have

10   entered permanent injunctions even without evidence that the defendants’ hacking operations were

11   ongoing. See, e.g., Facebook, Inc. v. Power Ventures, Inc., 252 F. Supp. 3d 765, 785–86 (N.D. Cal.

12   2017) (entering permanent injunction nearly five years after defendant declared bankruptcy), aff’d,

13   749 F. App’x 557 (9th Cir. 2019); see also Dkt. No. 557-3 at 8–9 (collecting cases).

14          Setting aside that NSO’s past violations of the law are alone sufficient, NSO’s administrative

15   motion does not take issue with any of the undisputed facts showing the risk of ongoing and future

16   harm that NSO poses to Plaintiffs. NSO does not dispute that

17                        Id. at 9. Nor does NSO cite any evidence in the record suggesting that it “has

18   deleted the WIS.” Id. at 13. NSO does not (and cannot) dispute

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20

21   Id. at 10 (quoting Dkt. No. 399-4, Ex. 6 at 109:3–110:22, 266:3–7).

22          Having elected to refuse to provide discovery about its post-May 2020 activities, NSO is not

23   entitled to an evidentiary hearing to supplement the record. It is also unclear whether NSO’s fact

24   witnesses could even testify about these issues.

25

26                           Dkt. No. 429-2 at 21; see also Dkt. No. 429-19 ¶¶ 6–10. NSO’s witnesses

27   should not be able to testify about these topics at an evidentiary hearing after refusing to answer the

28   same questions during their depositions. See Dkt. No. 494 at 9 (“[T]he court will impose evidentiary
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 1   sanctions when appropriate.”).3 In all events, if NSO has no intention of building any installation

 2   vector for Pegasus that uses WhatsApp’s technology, then it should have no objection to an injunction

 3   enjoining them from doing so. There is no reason for the Court to put off a decision on the motion.

 4           The remaining “disputes” that NSO lists in its administrative motion are immaterial. NSO

 5   first argues that WhatsApp’s 2018 code changes were “made completely independently of Pegasus

 6   and without knowledge of Pegasus.” Dkt. No. 560 at 2. The intent behind Plaintiffs’ changes has no

 7   bearing on the undisputed fact that, as the Court found, NSO “redesigned Pegasus to evade detection

 8   after plaintiffs first fixed the security breach.” Dkt. No. 494 at 12. Most of the remaining “disputes”

 9   recycle NSO’s failed arguments about the identities of NSO’s customers and targets. See Dkt. No.

10   560 at 3. The Court has already found that NSO’s attempt to thrust liability on its customers is “fully

11   addressed by [18 U.S.C. § 1030(b)] which assigns liability to co-conspirators.” Dkt. No. 494 at 11.

12   And the identity of the target users, Dkt. No. 560 at 2–3, has no bearing on any issue material to

13   Plaintiffs’ requested injunction. The Court has already rejected NSO’s foreign law-enforcement de-

14   fense when it found NSO liable on Plaintiffs’ claims, and NSO should not be given a chance to

15   proffer irrelevant witnesses to avoid a permanent injunction. 4 To the extent NSO takes issue with

16   the scope of the injunction, see id. at 3, it is free to make contrary arguments in its opposition brief.

17   III.    There Is No Reason to Delay Issuing the Permanent Injunction

18           NSO’s administrative motion effectively asks the Court to deny Plaintiffs’ motion as prema-

19   ture without the benefit of full briefing. As explained above, NSO has failed to establish any disputed

20   issue of material fact that would prevent the Court from entering the injunction. NSO’s remaining

21   arguments for delaying relief fare no better.

22           First, Plaintiffs’ purported “lack of urgency,” id. at 3, does not provide a reason to postpone

23   a decision on the permanent injunction until after an evidentiary hearing. While “delay in requesting

24   a TRO militates against its issuance,” Rosal v. First Fed. Bank of Cal., 2009 WL 837570, at *2 (N.D.

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     3
            NSO’s fact witnesses are outside the Court’s subpoena power, and were not made available for
26          depositions in the United States, raising questions about their willingness to travel to trial.
27   4
            NSO also claims that there are open questions about the extent of its discovery misconduct.
            See id. at 2–3. But the scope of NSO’s shortcomings has no bearing on Plaintiffs’ motion.
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                                                          4
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 1   Cal. Mar. 26, 2009), NSO cites no case extending this principle to permanent injunctions. Plaintiffs

 2   moved for a permanent injunction roughly two months after the Court found that there were no dis-

 3   puted issues of fact, and in time for the motion to be heard by the April 10 pretrial conference. To

 4   the extent “urgency” matters at all, it counsels in favor of deciding injunctive relief now, rather than

 5   pushing it back for months. See, e.g., Addington v. U.S. Airline Pilots Ass’n, 2009 WL 2169164, at

 6   *7 (D. Ariz. July 17, 2009) (explaining how, in an “urgent case,” the court first resolved the “liability

 7   of the [defendant] and the propriety of injunctive relief” before addressing the “quantification of any

 8   damages owed”). If NSO believes that Plaintiffs have not established irreparable harm, NSO can

 9   advance that argument in its opposition. NSO cites no precedent for a court evaluating the purported

10   hardship to the parties in order to determine whether the defendant has to respond to a motion.

11          Second, because Plaintiffs’ motion for a permanent injunction relies on undisputed facts, there

12   are no “common issues of fact” that remain to be determined at trial. See Dkt. No. 560 at 4. When

13   a permanent injunction does not rely on disputed factual issues, courts frequently enter injunctions

14   before a jury trial. See, e.g., AcryliCon USA, LLC v. Silikal GmbH, 2016 WL 739542, at *3 (N.D.

15   Ga. Feb. 24, 2016); Flow Control, 278 F. Supp. 2d at 1201. NSO cites no case where a court refused

16   to grant an injunction premised on undisputed facts because there were other legal issues remaining.

17          Third, NSO’s appeals to judicial efficiency, Dkt. No. 560 at 4–5, lack merit. As described

18   above, there is no need for an evidentiary hearing at all, given that Plaintiffs’ motion rests on undis-

19   puted facts. Moreover, resolving Plaintiffs’ permanent injunction motion at the pretrial conference

20   would further narrow the remaining issues in dispute and may well position the parties to resolve the

21   remainder of the case via mediation.

22                                              CONCLUSION

23          Plaintiffs moved for a permanent injunction based on the undisputed facts about NSO’s con-

24   duct, which the Court has already concluded made NSO liable. The Court should deny NSO’s ad-

25   ministrative motion to extend the briefing schedule and hearing date for Plaintiffs’ motion.

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 1    Dated: March 3, 2025                          Respectfully Submitted,

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